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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


IN RE:                                                         §      Chapter 11
                                                               §
TEHUM CARE SERVICES, INC., 1                                   §      Case No. 23-90086 (CML)
                                                               §
DEBTOR                                                         §

                         NOTICE OF APPOINTMENT OF COMMITTEE
                                  OF TORT CLAIMANTS

TO THE HONORABLE CHRISTOPHER M. LOPEZ
UNITED STATES BANKRUPTCY JUDGE:

         The United States Trustee for the Southern District of Texas, through his undersigned

attorneys and pursuant to Section 1102(a)(1) of the Bankruptcy Code, hereby appoints the

following eligible creditors to the Committee of Tort Claimants in connection with the above

captioned case:



                               Members                                Counsel for Members

         1     Aanda Slocum                                  Daniel Shaffer
               aanda7123@gmail.com                           405 Ridges Blvd., Ste B.
                                                             Grand Junction, CO 81507
                                                             lawyerdan@danielshafferlaw.com
                                                             Tel: 970-243-2552

         2     Elizabeth Frederick                           James Slater
               frederickbeth@gmail.com                       113 S. Monroe Street
                                                             Tallahassee, FL 32301
                                                             james@slater.legal
                                                             Tel: 305-523-9023




1
 The last four digits of the Debtor’s federal tax identification number is 8853. The Debtor’s service address is: 205
Powell Place, Suite 104, Brentwood, Tennessee 37027.


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      3    Henry Snook                      Anne Findling
           moregreyhounds@cox.net           301 E. Bethany Home Rd.,
                                            Suite B-100
                                            Phoenix, AZ 85012
                                            Tel: 602-400-4400
                                            anne@rcmslaw.com

      4    LaTonda Smith                    Scott Zwillinger
                                            2020 N. Central Ave.,
                                            Suite 675
                                            Phoenix, AZ 85004
                                            scott.zwillinger@zwfirm.com
                                            Tel: 602-609-3800

      5    Nathan Alvarez                   Scott Griffiths
           Alvarez.nate@icloud.com          201 E. Southern Ave., Suite 207
                                            Tempe, AZ 85282
                                            Scott@griffithslawaz.com
                                            Tel: 602-875-0601

      6    Paris Morgan                     Jason Wallace
           parisangelmorgan@gmail.com       320 Osuna Rd NE, Suite G-3
                                            Albuquerque, NM 87107
                                            jason@hmhw.law



Dated: November 20, 2023                     KEVIN M. EPSTEIN
                                             UNITED STATES TRUSTEE


                                             /s/ Ha M. Nguyen
                                             Ha Nguyen, Trial Attorney
                                             California Bar #305411
                                             E-mail: Ha.Nguyen@usdoj.gov
                                             Office: 713-718-4655
                                             Cell: 202-590-7962

                                             /s/ Andrew Jimenez
                                             Andrew Jiménez, Trial Attorney
                                             District of Columbia Bar 991907
                                             E-mail:Andrew.Jimenez@usdoj.gov
                                             Office: 713-718-4668

                                             United States Department of Justice
                                             Office of the United States Trustee

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                                                 515 Rusk Street, Suite 3516
                                                 Houston, Texas 77002
                                                 Facsimile: 713-718-4670


                              CERTIFICATE OF SERVICE

    I hereby certify that a true and correct copy of the foregoing Notice of Appointment of
Committee of Tort Claimants has been served by electronic means on all PACER participants on
November 20, 2023.

                                          /s/ Ha M. Nguyen
                                          Ha M. Nguyen
                                          Trial Attorney




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